          Case 2:25-cv-01617-FLA-MAA                               Document 10                 Filed 03/13/25                Page 1 of 1 Page ID
                                                                         #:57




                                                         UNITED STATES DISTRICT COURT
                                                        CENTRAL DISTRICT OF CALIFORNIA

 BETH CONE, individually and on behalf of all others                                   CASE NUMBER
 similarly situated,                                                                                Case No. 2:25-cv-1617-CAS-MAA
                                                                  PLAINTIFF(S)
                                         v.
 OVERDRIVE, INC.,
                                                                                                             WAIVER OF SERVICE OF
                                                                                                                  SUMMONS
                                                              DEFENDANT(S).

To: Philip L. Fraietta
     (Name of Plaintiff's Attorney or Unrepresented Plaintiff)

     I hereby acknowledge receipt of your request that I waive service of a summons in the above-entitled action. I have also received a
copy of the complaint in the action, two copies of this waiver form, and a means by which I can return the signed waiver to you without
cost to me.

     I agree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit by not requiring that I (or the
entity on whose behalf I am acting) be served with judicial process in the manner provided by Rule 4 of the Federal Rules of Civil
Procedure.

    I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the jurisdiction or venue of the
court except for objections based on a defect in the summons or in the service of the summons.

     I understand that judgment may be entered against me (or the party on whose behalf I am acting) if an answer or motion under Rule
12 is not served within 60 days after*            March 12, 2025                , or within 90 days after that date if the request was sent
outside the United States.

     *Date Notice of Lawsuit and Request for Waiver of Service Summons is sent.


      March 13, 2025
     Date Signed by Receiving Party                                                        Signature

      Meegan Brooks                                                                          628-600-2232
     Name                                                                                  Telephone Number and Fax Number

      100 Pine Street, Suite 3100                                                            Counsel
     Street Address                                                                        Relationship to Entity on Whose Behalf I am Acting

      San Francisco, CA 94111                                                                Overdrive, Inc.
     City, State, Zip Code                                                                 Name of Party Waiving Service
Duty to Avoid Unnecessary Costs of Service of Summons

      Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and complaint. A defendant
located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive service of a summons, fails to do so will
be required to bear the cost of such service unless good cause be shown for its failure to sign and return the waiver.

      It is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that the action has been brought in an improper place or
in a court that lacks jurisdiction over the subject matter of the action or over its person or property. A party who waives service of the summons retains all defenses and
objections (except any relating to the summons or to the service of the summons), and may later object to the jurisdiction of the court or to the place where the action has
been brought.

      A defendant who waives service must within the time specified on the waiver form serve on the plaintiff’s attorney (or unrepresented plaintiff) a response to the
complaint and must also file a signed copy of the response with the court. If the answer or motion is not served within this time, a default judgment may be taken against
that defendant. By waiving service, a defendant is allowed more time to answer than if the summons had been actually served when the request for waiver of summons
was received.


CV-108 (06/98)                                           WAIVER OF SERVICE OF SUMMONS
